Case 8:10-cr-00096-S_B-TGW Document 325 Filed 06/11/13 Page 1 of 1 PageID 1371


                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                     CASE NO. 8:10-CR-96-T-17


 LEWIS TYRONE POTTS
                                             /
                                                 ORDER

        This cause comes before the Court on the defendant’s motion for modification of
 sentence, the requested modification was based on the retroactive application of revised cocaine
 base sentencing guidelines (Doc. 305). The Court appointed counsel in this case and required
 responses from the United States Probation Office, the government, and the defendant through
 his appointed counsel. The Court has received and reviewed the responses (Docket No. 323 and
 Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility Assessment). The
 parties and probation concur that the defendant is not eligible for a reduction in sentence.
 Accordingly, it is.
        ORDERED that defendant’s motion for modification of sentence, the requested
 modification was based on the retroactive application of revised cocaine base sentencing
 guidelines be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 11th day of June, 2013.




 Copies furnished to: All Counsel of Record
